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BILLY LE%B$:§@R ®@?§EASED L LC,HY»}U§ tj>[§*ICTCOUHT
MARY MCCAJN A"N`D JANICE sHUFFrED "’L C§ ' § EMPHlS

As PEHTIONERS and ADMNSTRATRICES PLAn~ITIFFs
vs. NO.: 04-3037-M1/P

 

JON PHIPPS MOCALLA

MATTHEW W]LSON MD, SHELLY D. TIMl\/IONS, MD, = __: l |_U_s..i DISTRICI JUDGE

MICHAEL MUHLBAUER, MD, CATHER[NE CAGIANNOS, l\/.'[D,
ALLEN K. SILLS, .TR. MD, MICHAEL KEUTER, MD_ and THE
SHELBY COUNTY HEAL'I`HCARE CORP., dfb/a TI‘IBRBGIONAL g m
MEDICAL CENTER AT MEMPHIS, THE MED, ' DEFENDANTS

 

MOTION FOR EXTENSION OF TINIE TO RESPOND TO
MOTION FOR SUMl\IARY JUDGMENT

 

COME NOW the Plaintiff’s, by and through counsel, and files this their Motion For
Extension of Time To Respond To Motion for Summary Judgment and would show unto the
Court as follows, to-wit:

l. That counsel for Plaintiff` has just received the films from the Med. These records Were originally
subpoenaed in docket no.: 04-2596-MaV on September 14, 2004. Plaintif`f`s’ counsel has
forwarded these films to a consulting expert The normal turnaround is about 6 Weeks.

2. That the Defendants Allen K, Sills, Shelly D. Timmons and Michael Muhlbauer have
filed a motion for summary judgment with an affidavit of Shelly D. Timmons in support thereof`.
The deadline for a response is currently July 25, 2005. That the relevant defendants through
counsel have been consulted and agree to the extension of time to respond to August 25 , 2005.

3. That a proposed Agreed Order is attached hereto evidencing agreed consent

This document entered on the docket sheet |n compliance ‘Q{p
with Ru|e 55 and/or 79(a) FFICP on 2 "g&j}f§

Case 2:04-Cv-03037-.]PI\/|-tmp Document 26 Filed 07/26/05 Page 2 of 4 Page|D 36

WHEREFORE, PREM]SES CONSIDERED, Plaintiff prays that the time for Plaintiffs to

respond to Defendant’s Motion for Surnmary Judgment be extended to August 25, 2005.

Respectf v mitte
GIL l ' ' /' ClATES, P.A`
/ ' /

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, / »_ Giid'er, 314321
ey for Plaintiffs

P`O. Box 193

Southaven, MS 38671

662-349~2092

     
    
    

Case 2:O4-Cv-03037-.]PI\/|-tmp Document 26 Filed 07/26/05 Page 3 of 4 Page|D 37

CERT]IFICATE OF §ERVICE

I, Jefferson D. Gilder, do hereby certify that I have this day served a true and correct
copy of the above and foregoing Motion for Extension of Time, U.S. Mail, postage prepaid to
the following

Hon. J. Kimbrough Johnson
Thomason Hendrix Harvey
Johnson & Mitchell

40 S. Main, Suite 2900
Memphis, TN 38103

Hon. Stephen A. Hester

Leitner Wiliiams Dooley & Napolitan
254 Court Ave., 2“"‘ Floor

Mernphis, TN 38103

Hon. Mark S. Norris
Armstrong Allen, PLLC

80 Monroe Ave., Suite 700
Memphis, TN 38103

Hon. Cannon F . Allen
Armstrong Allen, PLLC
80 Monroe, Suite 700
Memphis, TN 38103

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rhis mcgile ofJuly, 2005.

 

 

       

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CV-03037 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed

 

 

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Honorable J on McCalla
US DISTRICT COURT

